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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

TRAVELERS CASUALTY AND SURETY
COMPANY OF AMERICA
                Plaintiff,

                                                                  Case No.: 19-cv-7297
            v.

COHEN, WEISS AND SIMON LLP; DAVID R.
HOCK; JANI K. RACHELSON; and MARCELLE
J. HENRY.

                             Defendants.

            COMPLAINT FOR RESCISSION AND DECLARATORY JUDGMENT

       Travelers Casualty and Surety Company of America (“Travelers”), for its Complaint for

Rescission and Declaratory Judgment against defendants Cohen, Weiss and Simon LLP (the

“Firm”), David R. Hock (“Hock”), Jani K. Rachelson (“Rachelson”), and Marcelle J. Henry

(“Henry”)1, alleges as follows:

                                     NATURE OF THIS ACTION

       1.        This is an action for (1) rescission of a professional liability insurance policy (the

“Policy”) that Travelers issued to the Firm and (2) declaratory judgment pursuant to 28 U.S.C.

§§ 2201 and 2202.

       2.        Specifically, Travelers seeks to rescind the Policy on the basis of a material

misrepresentation, omission, concealment of fact, and incorrect statement in the Firm’s written

application for the Policy, i.e. a false statement by the Firm that, at the time the application was




1
 Hock, Rachelson, and Henry are collectively referred to as the “Cohen Attorneys”. The Firm and the
Cohen Attorneys are collectively referred to as the “Defendants.”
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submitted, none of its members or employees had any knowledge of any incident, act, error, or

omission that is or could be the basis of a claim under the proposed policy.

                                            PARTIES

       3.     Travelers is an insurance company incorporated under the laws of the State of

Connecticut and has its principal place of business in Hartford, Connecticut. Travelers,

therefore, is a citizen of Connecticut.


       4.     The Firm is a limited liability partnership organized under the laws of New York

and maintains a principal place of business in New York, New York. The Firm’s partners are

citizens of New York and the District of Columbia. The Firm is, therefore, a citizen of New

York and the District of Columbia.

       5.     Hock is an individual who, upon information and belief, is domiciled in New

Jersey. Hock is, therefore, a citizen of New Jersey. At all times relevant to this action, and up

until he surrendered his law license, Hock was an attorney, admitted to practice law in New

York, and was either a partner of the Firm or an attorney employed by the Firm.

       6.     Rachelson is an individual who, upon information and belief, is domiciled in New

York. Rachelson is, therefore, a citizen of New York. Rachelson is an attorney, admitted to

practice law in New York, and is a partner of the Firm.

       7.     Henry is an individual who, upon information and belief, is domiciled in New York.

Henry is, therefore, a citizen of New York. Henry is an attorney, admitted to practice law in

New York. At all times relevant to this lawsuit, Henry was either a partner of the Firm or an

attorney employed by the Firm.




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                                  JURISDICTION AND VENUE

        8.     Federal subject matter jurisdiction exists in this action, pursuant to 28 U.S.C.

§ 1332, because it is an action between citizens of different states, and the amount in controversy

exceeds $75,000, exclusive of interest and costs.

        9.     Pursuant to 28 U.S.C. § 1391(b)(2), venue is proper in the Southern District of New

York because a substantial part of the events giving rise to Travelers’ claim for rescission

occurred in this district.


             THE APPLICATION FOR PROFESSIONAL LIABILITY INSURANCE

        10.    The Firm submitted to Travelers a Travelers 1st Choice+ Lawyers Professional

Liability Coverage Application (the “Application”), dated April 25, 2017, and bearing the

signature of Susan Davis (“Davis”), a partner of the Firm.

        11.      In the Application, the Firm answered “No” to the following question:

                 Do you or any member or employee of your firm have knowledge of any incident,
                 act, error, or omission that is or could be the basis of a claim under this proposed
                 professional liability policy?

         12.     Immediately above Davis’ signature, the Application states, in relevant part, as

follows:

                 The undersigned authorized representative of the firm, or individual if
                 this application is for an individual, agrees to all of the following:

                    •   The statements and representations made in this application
                        are true and complete and will be deemed material to the
                        acceptance of the risk assumed by Travelers in the event an
                        insurance policy is issued.

                    •   If the information supplied in this application changes
                        between the date of the application and the effective date of
                        any insurance policy issued by Travelers in response to this
                        application, you will immediately notify us of such changes,
                        and we may withdraw or modify any outstanding quotation or


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                           agreement to bind coverage.

                                                     ***

                                      THE INSURANCE POLICY

           13.    In reliance on the Application, Travelers issued the Policy, which is a claims-

    made Travelers 1st Choice+ New York Lawyers Professional Liability Policy, No. 105806447,

    to the Firm for the policy period July 2, 2017 to July 2, 2018. A true and correct copy of the

    Policy is attached as Exhibit A and incorporated into this Complaint.

           14.    The Declarations included in the Policy lists the Named Insured2 as Cohen,

    Weiss and Simon LLP.

           15.    The Policy’s limits of liability for “Professional Services” are $5,000,000 for each

    Claim, not to exceed $5,000,000 for all Claims, subject to the each Claim deductible of

    $25,000 for each Claim and $50,000 for all Claims.

           16.    Pursuant to Form LPL-1001NY2 Ed. 01-11, the Policy’s Insuring Agreement

    states as follows:

                  I.       INSURING AGREEMENT

                  The Company will pay on behalf of the Insured, Damages and Defense
                  Expenses for any Claim first made during the Policy Period or an
                  extended reporting period that applies, that is caused by a Wrongful Act
                  committed on or after any applicable Retroactive Date set forth in ITEM 5
                  of the Declarations, provided that no Insured on the Knowledge Date set
                  forth in ITEM 5 of the Declarations had any basis to believe that such
                  Wrongful Act might reasonably be expected to be the basis of a Claim.

                  The Retroactive Date may not be advanced during the time that the
                  claims-made coverage has been continuously in effect with the Company
                  or any affiliated insurance companies, or during any Automatic Extended
                  Reporting Period or Optional Extended Reporting Period, if either one
                  applies.



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    Terms appearing in bold text are defined in the Policy.

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17.   The Policy contains the following definitions, among others:

      B.     Claim means:

             1.     a demand for money or services;
             2.     a civil proceeding commenced by service of a complaint or
                    similar pleading; or
             3.     a written request to toll or waive a statute of limitations
                    relating to a potential civil or administrative proceeding,

             against any Insured for a Wrongful Act.

             A Claim will be deemed to be made on the earliest date such
             notice thereof is received by any Principal Insured.

                                  ***

      J.     Insured means any Insured Person, Named Insured, or
             Predecessor Firm.

      K.     Insured Person means any natural person who:

             1.     is the sole owner of, or is or was a partner in, the Named
                    Insured or Predecessor Firm;
             2.     was or is a member of the board of managers, director,
                    executive officer, or shareholder of the Named Insured or
                    Predecessor Firm;
             3.     was or is an employee of the Named Insured or
                    Predecessor Firm; or
             4.     was or is an Independent Contractor or Of Counsel
                    attorney,

             provided that such person is acting within the scope of their duties
             on behalf of the Named Insured or Predecessor Firm.

                                  ***

      X.     Principal Insured means a member of the board of managers,
             director, executive officer, natural person partner, owner of a sole
             proprietorship, principal, risk manager or in-house general counsel
             of the Named Insured.

                                      ***




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                                     THE UNDERLYING CLAIMS

           18.    Teamsters Local 1205 Welfare Fund and Teamsters Local 1205 Pension Fund

    (collectively, “Local 1205 Funds”) and the Joint Industry Board of the Electrical Industry

    (“JIBEI”)3 have asserted a number of legal malpractice claims against the Defendants, alleging

    that the Defendants neglected and mismanaged underlying collection matters and failed to

    engage in necessary post-judgment enforcement. The Clients further allege that the Defendants

    misrepresented the status of the underlying matters and their efforts to collect judgments. The

    Clients also allege that the Defendants provided false information, or withheld information

    regarding the actual status of their collection efforts. In addition, the Clients contend that, as a

    result of the Defendants’ actions, they have been unable to collect, or pursue, certain unpaid

    contributions to their respective employee benefits funds, and that some claims are time-barred.

                                  Local 1205 Funds Underlying Claims

           19.    Local 1205 Funds are “employee benefits plans” and “multiemployer plans”, as

    defined by Employee Retirement Income Security Act (“ERISA”). Local 1205 Funds retained

    the Firm to collect unpaid contributions and other amounts from, and pursue litigation against,

    certain employers including K-D Frame and Door Corporation (“KD Door”), Accent Hardwood

    Flooring & Supply Corp. (“Accent”), and Gariboldi Insulation, Inc. (“Gariboldi”).

          20.     Local 1205 Funds have asserted claims against the Defendants alleging that the

Defendants acted negligently in connection with their representation of Local 1205 Funds in

collection proceedings against KD Door, Accent and Gariboldi, among other employers. Local

1205 Funds contend, among other things, that the Defendants failed to follow through on the

settlements and judgments related to these matters and enforce Local 1205 Funds’ rights or to


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    Local 1205 Funds and JIBEI are collectively referred to as “the Clients”.

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collect payment from these companies. Additionally, Local 1205 Funds contend that the

Defendants misled and deceived Local 1205 Funds about the status of these claims and the

actions the Defendants were taking to protect Local 1205 Funds’ rights.


        21.        Upon information and belief, between 2010 and prior to the signing of the

Application (i.e., April 25, 2017), the Firm misrepresented the status of existing claims and the

Firm’s efforts to enforce Local 1205 Funds’ collection rights. As described further below, Local

1205 Funds assert the Firm made false statements regarding fictitious litigations and filings

concerning the KD Door, Accent, and Gariboldi matters.

        22.        With respect to the Gariboldi matter, upon information and belief, the Firm

reported to Local 1205 Funds that the Firm was waiting for court to rule on a motion to compel

discovery against Gariboldi’s principal. Local 1205 Funds assert, however, that at the time of

the report, the motion had already been denied because the Defendants had taken no action.

Local 1205 Funds also have asserted that the Firm repeatedly reported to the Trustees of Local

1205 Funds that the Firm filed a complaint and a motion for default judgment against certain

parties. Local 1205 Funds contend that, in reality, no case was ever filed on behalf of Local

1205 Funds, and Local 1205 Funds contend that statements describing such filings were

therefore false.

        23.        In regards to the KD Door matter, upon information and belief, the Firm made

false statements to Local 1205 Funds regarding its efforts to seek the court’s involvement in

enforcing a settlement agreement between Local 1205 Funds and KD Door. While the Firm

represented that it was pursuing a motion to enforce the settlement agreement, Local 1205 Funds

contend this was false. Local 1205 Funds assert that in reality, no such request was made and the

time to restore the case to the active docket had already lapsed.


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       24.     With respect to the Accent matter, upon information and belief, the Firm advised

Local 1205 Funds that an amended complaint against a successor entity was filed and discovery

was proceeding. Local 1205 Funds assert that in reality, the Firm never filed the amended

complaint and the case did not exist.

       25.     According to Local 1205 Funds, as a result of the Defendants’ conduct, Local

1205 Funds have lost the right to collect certain amounts owed from these employers or would

have achieved a more favorable result but for the Defendants’ actions.

       26.     Upon information and belief, by April 25, 2017, when the Firm completed the

Application, a Firm partner or employee was aware of material facts relating to the Firm’s

misrepresentations of, and false reports to, Local 1205 Funds regarding the status and pendency

of the KD Door, Accent and Gariboldi matters, and that such incidents, acts, errors or omissions

could be the basis of a claim under the Policy.

                                    JIBEI Underlying Claim

       27.     JIBEI is the administrator of the pension, health and welfare plans jointly trusteed

by Local Union No. 3 and signatory employers who employ union members on electrical jobs in

the New York City, Westchester, and Fairfield, Connecticut jurisdictions.

       28.     JIBEI retained the Firm to serve as outside collection counsel in connection with

various collection actions, including a collection action against Gartech Electrical Contracting

(“Gartech”), an electrical contractor, related to a project with the Metropolitan Transit Authority

(“MTA”).

       29.     JIBEI has asserted a legal malpractice claim against the Firm and Hock relating to

their alleged negligence in pursuing delinquent benefit contributions from Gartech.

       30.     Upon information and belief, Hock and the Firm misrepresented to JIBEI the

status and pendency of a lawsuit filed in New York state court (the “State Action”) against the
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general contractor’s sureties. The Firm and Hock filed the State Action to recoup unpaid benefit

contributions allegedly owed to JIBEI for the MTA project.

       31.     Upon information and belief, while the State Action was pending, Hock reported

to the JIBEI that the only source of potential collection was from the sureties, absent Hock and

the Firm successfully recovering amounts from Gartech. However, in February 2016, after the

sureties filed a motion for summary judgment in the State Action, which was marked “submitted

without opposition”, Hock stipulated to the discontinuance of the State Action. The State Action

was ultimately dismissed with prejudice. Upon information and belief, Hock did not advise the

JIBEI of the summary judgment motion, the non-opposition to the motion, or the dismissal with

prejudice. Hock and Firm also did not receive JIBEI’s consent to dismiss the action.

       32.     Upon information and belief, in September 2016, Hock stated in a status report to

JIBEI that a status conference was scheduled that month, at which time the court would likely set

a summary judgment schedule. He made this representation even though the case had been

dismissed months earlier. He also stated in the September 2016 status report that “unless we

receive additional information regarding assets [of Gartech], the only likely source of collection

is from the lawsuit against the surety”, i.e. a lawsuit that was already dismissed.

       33.     According to JIBEI, as a result of Hock’s actions, it has lost the opportunity to

collect the full amount Gartech allegedly owes.

       34.     Upon information and belief, by April 25, 2017, when the Firm completed the

Application, a Firm partner or employee was aware of material facts relating to the Firm’s

misrepresentations and false reports to JIBEI regarding the status and pendency of the matters,

and that such incidents, acts, errors or omissions could be the basis of a claim under the Policy.




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                                              COUNT I
                                         (Rescission of Policy)

        35.       Travelers realleges paragraphs 1-34 above as if set forth fully as this paragraph

35.

        36.       The Application contained a misrepresentation, omission, concealment of facts, or

incorrect statement in the negative response to the question whether any member of the Firm

had knowledge of any incident or act that could be the basis of a claim.

        37.       Upon information and belief, at the time the Firm completed the Application, a

Firm partner or employee had knowledge that the Firm did not take necessary steps to collect

money on behalf of the Clients, misrepresented the status of collection efforts, and caused the

Clients to lose the right to collect the monies allegedly owed.

        38.       Upon information and belief, the Underlying Claims involve incidents, acts,

errors or omissions that are or could be the basis of a claim under the Policy.

        39.       The misrepresentation, omission, concealment of fact, or incorrect statement

included in the Application materially affected Travelers’ acceptance of risk and/or the hazard

that Travelers assumed. Travelers would not have issued the Policy had it been made aware of

the true facts.

        40.       As a result of the material misrepresentation, omission, concealment of fact, or

incorrect statement in connection with the Application, the Court should rescind the Policy and

declare that there is no coverage for any Claim made against the Firm, or any other Insured

under the Policy, including, without limitation, the Underlying Claims.

        41.       Travelers is tendering to the Firm all amounts paid as premium for the Policy.

       WHEREFORE, Travelers respectfully requests that the Court enter a judgment:

                  a. Declaring the Policy void as of its inception;


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            b. Rescinding the Policy;
            c. Declaring that Travelers has no duty to defend or indemnify the Firm or any
               other Insured against any Claim; and
            d. Granting such other relief as the Court may deem just and proper.


Dated: New York, New York
       August 5, 2019

                                  TRAVELERS CASUALTY AND SURETY COMPANY
                                  OF AMERICA,

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